Case 2:05-cr-20036-STA Document 23 Filed 05/23/05 Page 1 of 2 Page|D 14

IN THE UNITED STATES DISTRICT COURT F“ED "5"!“ % U~“"'
FOR THE WESTERN DISTRICT oF TENr\tESsEa.c is ,` ,` o _ _
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WESTERN DIVISION

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UNITED STATES OF AMERICA WU- ‘3`§' 3§`~' " ' “

V.

BOOKER T. GOLDEN 05cr20036-D

ORDER ON ARRAIGNMENT
This cause came to be heard on 05‘ lt§ “O 5 the United States Attomey

for this district appeared on behalf of the govemment, and the defendant appeared in person and With

counsel:

NAME H OLUOU\C) m(MLl,O Who is Retained/Appointed.

The defendant, through counsel, waived formal arraignment and entered a plea of not guilty.

All motions shall be filed Within thirty (30) days from the date hereof unless, for good cause
shown to a District Judge, such period is extended

/The defendant, Who is not in Custody, may stand on his present bond.

The defendant, (not having made bond) (beingjr a state prisoner) (being a federal
prisoner) (being held Without bond pursuant to BRA of 1984), is remanded to the custody

of the U.S. Marshal.
/__._.
ratings @€a_

UNITED STATES MAGISTRATE ]UDGE

 

CHARGES -21:841A=CD.F
CONTROLLED SUBSTANCE - SELL, DISTRIBUTE, OR DISPENSE

Attorney assigned to Case: L. Lucas

Age: §Ll

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with Ru|e 55 and/or 32(b) FHCrP on 5"&5“@5

 

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UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 23 in
case 2:05-CR-20036 Was distributed by faX, mail, or direct printing on
May 23, 2005 to the parties listed

 

 

Leonard E. Lucas

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200 Jefferson Ave.

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Honorable .l. Breen
US DISTRICT COURT

